                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:03CR231-8-MU

UNITED STATES OF AMERICA      )
                              )
vs.                           )     ORDER
                              )
JOSE R. ALMONTE               )
                              )_______________________________
______________________________)



        This matter is before the court upon the defendant’s “Motion to Verify Legal Status as a
U.S. National of United States,” filed December 29, 2008. The court does not have the authority
to grant the defendant’s motion.
        IT IS THEREFORE ORDERED that defendant’s motion is hereby DENIED.

                                               Signed: January 12, 2009




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